                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                                     Case No.: 1:20-cv-00997


  SYLVESTER ALLEN, JR. et al.,                 )
                                               )
                      Plaintiffs,              )
                                               )
               v.                              )
                                               )
  CITY OF GRAHAM, et al.,                      )
                                               )
                      Defendants.              ) ALAMANCE COUNTY AND TERRY
                                               )    S. JOHNSON’S MOTION FOR
                                               )  JUDGMENT    ON THE PLEADINGS
  GREGORY DRUMWRIGHT, et al.,                  )
                                               )   (ALLEN V. ALAMANCE COUNTY
                                               )           1:20-CV-00997)
                       Plaintiffs,
                                               )
                v.                             )
                                               )
  TERRY JOHNSON, individually and              )
  in his official capacity as Alamance         )
  County Sheriff, et al.,                      )
                                               )
                       Defendants.             )


      NOW COME Defendants, Alamance County and Terry S. Johnson, individually

and in his official capacity as Sheriff of Alamance County (hereinafter “Defendants”), by

and through the undersigned counsel, and pursuant to Rules 12 (b) and (c) of the Federal

Rules of Civil Procedure and Local Civil Rule 7.2, hereby file their Motion for Judgment

on the Pleadings. The Defendants’ motion should be granted because the pleadings of

record, including Plaintiff’s Complaint and the Defendants’ Answer establish that no


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material issue of fact exists and the Defendants are entitled to judgement as a matter of

law.

       WHEREFORE, the Defendants respectfully request that the Defendants’ Motion to

Dismiss be granted for the reasons set out in the accompanying Memorandum of Law in

Support of the Defendants’ Motion for Judgment on the Pleadings.

       This the 2nd day of March, 2021.

                                  By:     /s/ Paul G. Gessner
                                          Paul G. Gessner, NC Bar #18213
                                          /s/Patrick H. Flanagan
                                          Patrick H. Flanagan, NC Bar #17407
                                          Attorneys for Defendants Alamance
                                          County and Terry Johnson
                                          CRANFILL SUMNER LLP
                                          P.O. Box 30787
                                          Charlotte, NC 28230
                                          Telephone (704) 332-8300
                                          Facsimile (704) 332-9994
                                          pgessner@cshlaw.com
                                          phf@cshlaw.com

                                  By:     /s/William L. Hill
                                          William L. Hill, NC Bar #21095
                                          Attorney for Defendants Alamance
                                          County, Terry Johnson and Cliff Parker
                                          FRAZIER, HILL & FURY, R.L.L.P.
                                          2307 W. Cone Boulevard, Suite 260
                                          Post Office Drawer 1559
                                          Greensboro, North Carolina 27401
                                          Telephone: (336) 378-9411
                                          Facsimile: (336) 274-7358
                                          whill@frazierlawnc.com

                                  By:     /s/Clyde B. Albright
                                          Clyde B. Albright, NC Bar #10778
                                          Attorney for Defendant Terry Johnson
                                          ALAMANCE COUNTY ATTORNEY

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                             124 West Elm Street
                             Graham, NC 27253
                             Telephone: (336) 570-4046
                             Facsimile: (336) 570-6788
                             Clyde.Albright@alamance-nc.com




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                                  CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day filed the foregoing Alamance
County and Terry S. Johnson’s Motion for Judgment on the Pleadings with the Clerk of
Court using the CM/ECF system, which will send electronic notification of such filing to
the following:
       Geraldine Sumter, gsumter@fergusonsumter.com
       Anuja D. Thatte, athatte@naacpldf.org
       Ashok Chandran, achandran@naacpldf.org
       Clarence W. Phillips, cphillips@cov.com
       Marianne Spencer, mspencer@cov.com
       Leah Aden, laden@naacpldf.org
       Morgan Lewis, mlewis@cov.com
       Natasha Merle, nmerle@naacpldf.org
       Elizabeth Haddix, ehaddix@lawyerscommittee.org
       Daniel K. Siegel, dsiegel@acluofnc.org
       Jaclyn A. Maffetore, jmaffetore@acluofnc.org
       Kristi L. Graunke, kgraunke@acluofnc.org
       Mark Dorosin, mdorosin@lawyerscommittee.org
       Attorneys for Plaintiffs


       Anthony Biller, ajbiller@envisage.law
       Adam P. Banks, abanks@envisage.law
       William L. Hill, whill@frazierlawnc.com
       Clyde B. Albright, Clyde.Albright@alamance-nc.com
       Attorneys for Defendants

      This the 2nd day of March, 2021.

                                   BY:   /s/Paul G Gessner
                                         Paul G. Gessner, NC Bar #18213
                                         Attorney for Defendants Alamance
                                         County and Terry S. Johnson
                                         CRANFILL SUMNER LLP
                                         P.O. Box 27808
                                         Raleigh, NC 27611
                                         Facsimile (919) 863-3477
                                         pgessner@cshlaw.com

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